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               Exhibit A
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                                                                          Scott R. Magee
                                                                          Member
                                                                          Direct 781-697-2233
                                                                          Waltham, MA
                                                                          Boston, MA
                                                                          smagee@morse.law




Scott is an experienced litigator and corporate counselor representing clients                                 Education
in state and federal court, at trial, and on appeal. He has handled multiple jury                              Boston College Law School, J.D.
trials, bench trials, and complex arbitrations. He regularly handles litigation,                               Boston University, M.A.
arbitration, and pre-litigation dispute resolution on matters related to                                       University of Wisconsin, B.S.
mergers and acquisitions, employment, trade secret, product liability,
securities, FCPA, and widespread corporate governance matters. Scott has                                       Admissions
also represented numerous parties in interest and creditors in bankruptcy                                      Massachusetts
court.                                                                                                         U.S. Courts of Appeals for the First Circuit
                                                                                                               U.S. District Court, District of Massachusetts
His clients span a wide variety of industries including biotech, pharmaceutical, healthcare,
telecommunications, software, construction, and real estate. Scott also has substantial
experience performing internal investigations in response to requests from management, boards                  Practice Areas
of directors, or government agencies concerning issues such as corporate governance, insider
                                                                                                               Alternative Dispute Resolution
trading, and revenue recognition. Prior to law school, Scott was an organic chemist, and he brings
that knowledge and experience to the work he does for clients in the biotech, healthcare, and                  Business Litigation
pharmaceutical industries.                                                                                     Corporate Governance
                                                                                                               Employment Litigation
Scott was named a “Rising Star” by Super Lawyers Magazine for the years 2010-2017 for the                      Litigation
category of business litigation. In addition to his litigation experience, Scott regularly advises
                                                                                                               Securities
clients in connection with various business transactions and agreements to assist them in
avoiding costly and time-consuming litigation in the future.
                                                                                                               Industries
Scott taught international law and advocacy at Boston College Law School as part of the Philip C.
                                                                                                               Life Sciences
Jessup International Law Moot Court program for 12 years. He has judged the annual Jessup
competition in Washington DC, New York, and Paris. He has also guest lectured on international
law and advocacy in connection with the Jessup program at the University of Stirling in Scotland.
                                                                                                               Recognition
Representative Matters
  Obtained a preliminary injunction in federal court on behalf of a manufacturer of near infrared
  analyzers enjoining two competitors and several former employees from using or disclosing
  the client’s trade secrets and confidential information, as well as prohibiting those competitors



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  from selling certain products and services to existing customers of the client.

  Obtained a federal court jury verdict of $7.5 million in favor of a software manufacturer
  against its reseller for breach of sales and services contracts, while defeating counterclaims
  seeking $23.5 million for alleged breach of fiduciary duty and breach of contract. Successfully
  defended the jury verdict on appeal in the U.S. Court of Appeals for the First Circuit. ITyX
  Solutions AG v. Kodak Alaris, Inc., 952 F.3d 1 (1st Cir. 2020).

  As lead counsel, successfully represented a manufacturer and installer of solar fields in a
  multimillion dollar arbitration brought against it by owner of solar field alleging claims of
  delay, defective design, and defective construction, defeating $5 million in claims and
  recovering all unpaid amounts owed to his client.                                                            MA Rising Stars 2010-2017

  Successfully represented a health care company in multiple state and federal court appeals by
  former company executives claiming rights under an asset purchase agreement after sale of a
  hospital in bankruptcy court. Gupta v. Quincy Medical Center, a Steward Family Hospital, Inc., 858
  F.3d 657 (1st Cir. 2017); Gupta v. Quincy Medical Center, a Steward Family Hospital, Inc., 2017
  WL 6002751 (Mass. App. Ct. 2017).

  Obtained summary judgment in Bankruptcy Court on behalf of a mortgage lender against
  claims of unfair and deceptive trade practices. In re Chase, 578 B.R. 43 (Bankr.D.Mass. 2017).

  Represented pharmaceutical companies asserting claims for breach of confidentiality
  agreement protecting trade secrets used in drug development process.

  Represented publicly traded companies in internal investigations relating to FCPA concerns,
  alleged misstatement of financials, insider trading, and revenue recognition issues.

  Represented the acquirer in a post-closing indemnification dispute arising out of a stock
  purchase agreement through trial and appeal.

  Obtained summary judgment on behalf of an automobile finance company against claims of
  fraud and breach of contract brought in federal court by an automobile dealer. Rod James CJD,
  LLC v. Chrysler Motors, LLC, 2010 WL 2342490 (N.D.Ohio 2010).


Publications
J.G. Payne, S. Magee, S. Ratzan, “Ethics in Health Communication,” Crisis Communication and
Public Health, edited by Matthew Seeger, Hampton Press, 2008.

Abdel-Meguid, et al., “Compounds and Methods for the Treatment of Thrombosis,” US Patent
No. 7,217,794, issued May 15, 2007.




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